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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA


ROQUE “ROCKY” DE LA FUENTE,                     )
Candidate for President of the United           )
States; JILL STEIN, Candidate for               )
President of the United States; JONI            )
ALANE LEVINESS; MAIGAN                          )
UNDERWOOD; and RACHEL C.                        )
JACKSON;                                        )
                                                )
       Plaintiffs,                              )
                                                )
-vs-                                            ) Case No. CIV-16-0914-F
                                                )
PAUL ZIRIAX, Secretary of the                   )
Oklahoma State Election Board; and the          )
OKLAHOMA STATE ELECTION                         )
BOARD;                                          )
                                                )
       Defendants.                              )

                                         ORDER

        On August 9, 2016, plaintiffs filed a complaint which includes a request for
 preliminary injunctive relief. Doc. no. 1. The purpose of this order is to advise that
 no request for a preliminary injunction will be taken up by the court, and no hearing
 will be set, by virtue of the filing of the complaint alone. If plaintiffs intend to press
 a request for preliminary injunctive relief, plaintiffs are required to file a separate
 motion, along with a supporting brief, and to otherwise comply with Rule 65,
 Fed.R.Civ.P. If plaintiffs seek a hearing on such a motion, that request shall also be
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set out in the motion. Upon review of any motion which may be filed, the court will
establish procedures for hearing or otherwise determining the motion.
       Dated this 10th day of August, 2016.




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